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  From:    Seth Ginsberg srginsberg@mac.com
Subject:   Roger Stone #19579-104
   Date:   June 1, 2020 at 1:54 PM
     To:   gra-dsc/teamalpha@bop.gov


       Dear Hugue

       I respectfully request that the BOP extend the surrender date of the above-referenced inmate
       from June 30, 2020 until September 30, 2020, or any interim date that the BOP deems
       appropriate.

       The basis for this request is that Stone is at high risk from serious complications from a COVID-
       19 infection due to his health issues, which you and I discussed and which are detailed in his
       Presentence Report. We have not previously requested an extension of his surrender date and
       the sentencing court did not set a date but rather left it to the discretion of the BOP.

       Stone is a non-violent, first-time offender who poses no risk of flight or danger to the community.
       Accordingly, on balance, we respectfully submit that an adjustment of his surrender date is
       warranted, given the circumstances.

       Alternatively, it is requested that the BOP designate Stone to serve his sentence on home
       confinement to minimize the danger that he would face if infected with COVID-19.

       I am available to discuss these issues at your convenience and may be reached on my mobile
       number,                .

       Respectfully,

       Seth Ginsberg
       Attorney at Law
       299 Broadway, Suite 1405
       New York, NY 10007
                     (mobile)
       212-227-6655 (office)
       646-607-8597 (fax)
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